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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                          DIVISION OF SHREVEPORT

  ERICA BROWN AND JEREMIAH,          §       CIVIL ACTION NO. 5:21-cv-02406
  GREEN, INDIVIDUALLY AND ON
  BEHALF OF THE ESTATE OF
  RUBY GREEN

  V.                                 §       CHIEF JUDGE S. MAURICE HICKS,
                                             JR.

  PMG OPCO-WASHINGTON, LLC
  D/BA BOOKER T. WASHINGTON          §       MAGISTRATE JUDGE MARK L.
  SKILLED NURSING &                          HORNSBY
  REHABILITATION AND KOURTNEY


             DEFENDANTS' RESPONSE IN OPPOSITION TO REMAND




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         COME NOW PMG OPCO-WASHINGTON, LLC d/b/a BOOKER T. WASHINGTON

  SKILLED NURSING & REHABILITATION and KOURTNEY BROWNLEE ("Defendants" or

  "BTW") and file this Response to Plaintiffs' Motion to Remand showing as follows:

                                  I. PRELIMINARY STATEMENT

         This involves a global pandemic and public health emergency, which has lasted some

  nineteen months, killed over 660,000 people in the United States alone, and brought our nation's

  healthcare facilities to a breaking point. Congress prepared for such a threat and its tragic impact

  when it enacted the statutory tools to handle such a crisis and litigation aftermath. Through the

  Public Readiness and Emergency Preparedness ("PREP") Act, 42 U.S.C. §§247d-6d, 247d-6e and

  the Critical Infrastructures Protection Act ("CIPA"), 42 U.S.C. §5195c, Congress ensured that the

  nation could enlist private entities in its public health cause and provided immunity and other

  litigation protections, particularly express exclusive federal jurisdiction, to such private entities.

                                    II. STATEMENT OF FACTS

  A.     Procedural History And Factual Underpinnings Of This Case

         On April 29, 2021, Plaintiffs filed a Petition in the First Judicial District Court, Caddo

  Parish, Louisiana, alleging violations of the standard of care against BTW related to injuries

  sustained as a result of the COVID-19 public health emergency ("Action") and served BTW on

  July 9, 2021. See generally Petition. BTW timely removed this Action, asserting Plaintiffs' claims

  are expressly and completely preempted by federal law, warrant federal court adjudication under

  the Grable doctrine, and implicate federal officer removal jurisdiction. See generally, Defs.' Notice

  of Removal (Aug. 9, 2021). BTW subsequently filed its Motion to Dismiss, briefing of which was

  stayed on September 9, 2021 pending resolution of the present remand issue.




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         Decedent Ruby Green ("Decedent Green"), a resident of BTW's skilled nursing facility, is

  alleged to have contracted COVID-19 and died therefrom. Petition, ¶¶ 1–4, 7–8. Plaintiffs'

  allegations amount to acts and omissions regarding failures to exercise reasonable care in the

  administration and use of COVID-19 covered countermeasures, the negligent implementation of

  a COVID-19 covered countermeasure program, and the negligent maintenance and operation of a

  COVID-19 facility, to-wit:

         •   Alleging BTW as a nursing and rehabilitation facility. Id. at ¶ 2;

         •   Alleging Decedent Green was a resident at BTW. ¶ 4;

         •   Alleging COVID-19 requirements imposed on skilled nursing facilities by Authorities

             Having Jurisdiction ("AHJs"),1 such as the Centers for Disease Control and Prevention

             ("CDC") and Louisiana Department of Health ("LDH"); ¶ 7

         •   Alleging "Fail[ure] to take timely, proper and effective actions to eliminate and/or

             minimize the risk for [COVID-19] exposure". ¶¶ 10A, 12A (emphasis added);

         •   Alleging "Fail[ure] to timely and adequately assess the risk … and to initiate an

             appropriate level of preventive actions, interventions and measures to prevent

             [COVID-19] exposure." ¶¶ 10B, 12B (emphasis added);

         •   Alleging "Faili[ure] to timely and properly monitor, detect symptoms, test, and

             diagnose". ¶¶ 10C, 12C (emphasis added);




  1
    An AHJ is a "public agency or its delegate that has legal responsibility and authority for
  responding to an incident, based on political or geographical … or functional ... range or sphere of
  authority." Declaration, 85 Fed. Reg. at 15,202; see also Fourth Amended Declaration, 85 Fed.
  Reg. at 79,197 (AHJs include "federal, state, local ... authorities and institutions acting on behalf
  of governmental entities" and directing PREP Act participants regarding COVID-19
  countermeasures and COVID-19 mitigation efforts).


                                                   2
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         •   Alleging "Fail[ure] to do all things necessary and proper in the circumstances to reduce

             the risk [COVID-19] expos[ure]". ¶¶ 10G, 12G (emphasis added);

         •   Alleging "Fail[ure] to initiate proper protocols to sanitize defendants' facility. ¶¶ 10J,

             12J (emphasis added); and

         •   Alleging "Fail[ure] to properly follow and implement the guidelines and

             recommendations of the WHO, CDC, LDH". ¶¶ 10N, 12N (emphasis added).

  B. The COVID-19 National Public Health Crisis

         Severe acute respiratory syndrome coronavirus ("SARS-CoV-2" or "COVID-19")

  besieged the United States in March of 2020, requiring the federal government to coordinate a

  national response. To that end, the U.S. Department of Health and Human Services ("HHS")

  Secretary issued a declaration activating the PREP Act to provide a "whole-of nation" response to

  fighting the COVID-19 pandemic. See Declaration, 85 Fed. Reg. 15,198, 15,198 (Mar. 17, 2020)

  (HHS Secretary determines COVID-19 is "a disease … threat to health [and] constitutes a public

  health emergency"); see also Fourth Amended Declaration, 85 Fed. Reg. 79,190, 79,191 (Dec. 3,

  2020) ("there are … substantial federal legal and policy interests, in having a unified whole-of

  nation response to the COVID-19 pandemic").

         Little was known about the virus. See Declaration, 85 Fed. Reg. at 15,198 ("[T]he complete

  clinical picture regarding [COVID-19] is not fully understood …. The outbreak remains a

  significant public health challenge"). As HHS said:

         COVID-19 is an unprecedented global challenge. As we learn more about the
         highly contagious pathogen that causes COVID-19, public-health guidance and
         directives tend to change to reflect the new knowledge. Those changes do not
         always occur uniformly or simultaneously among scientists and across America[]
         —leading to uncertainty.




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  Advisory Opinion 20-04, 3 (Oct. 23, 2020). Early in the COVID-19 fight, it was learned that senior

  citizens were among those who would be hardest hit.2

         COVID-19 had no vaccine or effective treatment for nearly a year. Instead, the most

  effective countermeasures to mitigate and prevent the spread of the COVID-19 virus were PPE,

  such as face masks, respirators, gloves, and gowns, as well as thermometers, hand sanitizer, and

  COVID-19 tests—all countermeasures encompassed by Plaintiffs' Petition. See supra, pp. 2–3

  (discussing approved COVID-19 covered countermeasures invoked in Petition); see also Fourth

  Amended Declaration, 85 Fed. Reg. at 79,197 ("[t]o effectively respond, there must be a more

  consistent pathway for Covered Persons to … administer or use Covered Countermeasures across

  the nation"). Yet, the pandemic created national shortages of such countermeasures and a surge of

  healthcare patients. See Second Amended Declaration, 85 Fed. Reg. 35,100, 35,101 (June 8, 2020)

  ("the COVID-19 pandemic has resulted in shortages of … devices that the FDA has authorized");

  see also Fourth Amended Declaration, 85 Fed. Reg. at 79,192 (recognizing "the strain on

  healthcare systems" and "the surge of patient demand on facilities").

         It became essential to the public health and national security that HHS bolster its healthcare

  infrastructure grid by marshaling public and private healthcare resources led by a coordinated

  network of governmental AHJs. Fourth Amended Declaration, 85 Fed. Reg. at 79,194 (COVID-

  19 "requires a whole-of-nation response that utilizes federal, state, and local distribution channels

  as well as private-distribution channels"). Through its AHJs, the federal government invoked a

  nationwide system of state licensed skilled nursing facilities. HHS Response Letter (Aug. 14,

  2020). HHS declared skilled nursing facilities, such as Defendant BTW, "healthcare facilities" and



  2
         CDC,      Frequently     Asked     Questions     (updated    Mar.     1,               2020),
  https://web.archive.org/web/20210312023959/https://www.cdc.gov/coronavirus/2019-
  ncov/faq.html#People-at-Higher-Risk-for-Severe-IllnessFA.


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  placed them under the directives of coordinated federal and state AHJs. Declaration, 85 Fed. Reg.

  at 15,202; Advisory Opinion 20-04, 1 (stating critical role of "healthcare professionals and

  healthcare companies that are part of a government response to the COVID-19 pandemic"). Indeed,

  BTW entered an agreement with LDH (an AHJ agent of HHS) to become a "COVID-only" facility

  housing COVID positive elderly residents for the state and federal government. Supp. Notice of

  Removal, ¶ 61a, Exhibit E. Upon inquiry as to the breadth of this federal marshalling effort, HHS

  confirmed that senior living communities were critical partners known under the PREP Act as

  "program planners." Response Letter (declaring such communities as PREP Act "program

  planners" and "qualified persons", which manage and operate COVID-19 countermeasure

  programs and/or facilities).3 Moreover, HHS broadly set the coverage of the PREP Act defining

  "use and the administration" of COVID-19 countermeasures to mean the management and

  operation of countermeasure programs and facilities/locations:

         Administration of a Covered Countermeasure means physical provision of the
         countermeasures to recipients, or activities and decisions directly relating to public
         and private delivery, distribution, and dispensing of the countermeasures to
         recipients; management and operation of countermeasure programs; or
         management and operation of locations for purpose of distributing and
         dispensing countermeasures.

  Declaration, 85 Fed. Reg. at 15,200 (emphases added) (PREP Act applies to "a slip-and-fall injury

  or vehicle collision by a recipient receiving a countermeasure at a retail store serving as an

  administration or dispensing location that alleges, for example, lax security or chaotic crowd

  control").



  3
    "Program planners" are "a State or local government, including … a person employed by the
  State or local government, or other person who supervised or administered a program with respect
  to the administration … or use of a security countermeasure or a qualified pandemic or epidemic
  product, including a person who… provides a facility to administer or use a covered
  countermeasure in accordance with a declaration under subsection (b)." §247d-6d(i)(6); see also
  id. at (i)(2)(iii) (a program planner is a "covered person").


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  C.     Legislative History Of The PREP Act

         1. The PREP Act And Public Health Threats

         The PREP Act is just one component of the HHS's broad authority under the larger Public

  Health Service Act ("PHSA"). 42 U.S.C. §201, et. seq. In establishing the PHSA, Congress

  entrusted HHS to administer public health functions (§202 (("Administration and Supervision of

  Service")), including federal-state cooperation in times of national health crisis. Title 42 of the

  U.S.C., Ch. 6A, subchapter 2, part B ("Federal-State Cooperation").

         2. Congress' Delegation Of Authority To HHS In A Public Health Crisis

         Congress charged HHS with the duty of issuing a public health emergency declaration.

  §247d. HHS then sets the expected duration of the emergency, identifying particular measures to

  combat the emergency (referred to as "countermeasures") and directing the application and

  protections to be utilized during the health emergency:

         [I]f the Secretary makes a determination that a disease … constitutes a public health
         emergency … the Secretary may make a declaration … recommending, under
         conditions as the Secretary may specify, the … administration, or use of one or
         more covered countermeasures, and stating that subsection (a) [immunity] is in
         effect with respect to the activities so recommended.

  §247d-6d(b)(1); see also §§247d-6d(b)(2), (c)(2) (Secretary sets the categories the "acts and

  omissions" qualifying for exception to immunity, the period of immunity, the population and

  geographic scope of immunity, and the immunity for distribution type).

         In the context of the COVID-19 pandemic, a "covered countermeasure" is a preventative

  measure used to "diagnose, mitigate, prevent or treat" COVID-19. §247d-6d(i)(1), (7);

  Declaration, 85 Fed. Reg. at 15,202 (Covered Countermeasures include any device used in the

  administration of any such product); Second Amended Declaration, 85 Fed. Reg. at 35,102

  (Covered Countermeasures include any device used to "limit the harm from COVID– 19"). These



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  covered countermeasures include, but are not limited to, such items as personal protective

  equipment ("PPE")—face masks, respirators, gloves, and gowns—as well as thermometers, hand

  sanitizer, and COVID-19 tests, all of which countermeasures are invoked by Plaintiffs' Petition.

  See Fourth Amended Declaration, 85 Fed. Reg. at 79,194 (countermeasures authorized by the Food

  and Drug Administration ("FDA") under the FDCA, some of which are listed in Facemask

  Emergency Use Authorizations;4 see also supra, pp. 2–3 (discussing Plaintiffs' allegations

  regarding PREP Act Covered Countermeasures).

         Under the PREP Act, HHS is authorized to garner participation of private sector entities in

  national coordinated response and to set protections assured to those participants. See §§247d-

  6d(i)(5) ("private corporations" are "persons" under the PREP Act), (i)(6) ("program planners" are

  "persons" who supervise or administer countermeasure programs or facilities), (i)(8) (a "qualified

  person" is an individual authorized to administer countermeasures or a "group of persons so

  identified in a declaration by the Secretary"); see also §§247d-6d(c)(2)(B) (Secretary is "to define

  the scope of permissible [PREP] civil actions"), (2)(A) (Secretary to determine scope of "acts or

  omissions … that may qualify as 'willful misconduct'").

         The plain language of the PREP Act is purposely adaptive so as to provide HHS with the

  maximum delegated authority to identify the public health threat, the means by which the nation

  will address that threat, the partners to be mobilized, and the protections to be provided to said

  partners. §§247d-6d(b), (c). This exceptional delegation is necessary in light of the evolving and

  unknown nature of public health threats to the nation. The designation of a public health threat

  warranting a PREP Act response is appropriately limited in time, molded to the particular



  4
   FDA, Personal Protective Equipment, https://www.fda.gov/medical-devices/coronavirus-
  disease-2019-covid-19-emergency-use-authorizations-medical-devices/personal-protective-
  equipment-euas


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  emergency, and reviewed directly by Congress. §§247d-6d(b)(1–2), (2)(B), (3). Congress intended

  these designation not be second guessed through litigation. §§247d-6d(b)(7) ("No court … shall

  have subject matter jurisdiction to review … any action by the Secretary under this subsection"),

  (9) (Secretary reports direct to Congress within 30-days of any declaration or amendment thereto).

         3. PREP Act Immunity, A Special Federal Court, And A No-Fault Compensation Fund
            Protects And Encourages Private Partnership In Public Health Emergencies

         To compensate injured persons and to encourage the cooperation of private-sector partners,

  Congress established both an exclusive federal litigation process (see §247d-6d) and a fully funded

  no-fault claims process (see §247d-6e). Congress created absolute immunity for claims connected

  with combatting a public health emergency, except those alleging willful misconduct (see §247d-

  6d(a)(1)), and then preempted all state law:

         (b)(1) During the effective period of a declaration … no State or political
         subdivision of a State may establish, enforce, or continue in effect with respect to
         a covered countermeasure any provision of law or legal requirement that—

         (A) is different from, or is in conflict with, any requirement applicable under this
         section; and

         (B) relates to the … use … or the … dispensing, or administration by qualified
         persons of the covered countermeasure ….

  §247d-6d;5 see also Declaration, 85 Fed. Reg. at 15,202 (affirming immunity to covered persons

  assisting in AHJ public health response); Advisory Opinion 20-01, 2 (May 19, 2020) (PREP Act

  "immunity covers claims for loss sounding in tort or contract" and "PREP Act immunity must be

  read in light of the PREP Act’s broad, express-preemption provision"); Advisory Opinion 20-04,




  5
    As a "program planner" (see p. n. 3 supra), BTW is a "covered person" under PREP Act's
  immunity. See also Response Letter, 1. As a skilled nursing facility "covered person" identified in
  HHS's Declaration (see 85 Fed. Reg. at 15,199), BTW also is a "qualified person" within the
  meaning of §247d-6d(i)(8) and PREP Act preemption. See Response Letter, p. 2 n. 3.


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  1 (speaking to "the breadth of PREP Act immunity" and stating "The PREP Act exists, in part, to

  remove legal uncertainty and risk").

         Congress directed that the "sole exception to the immunity from suit and liability of

  covered persons … shall be for an exclusive Federal cause of action … for death or serious

  physical injury proximately caused by willful misconduct". See §247d-6d(d)(1) (emphases added);

  see also §247d-6d(e)(1) ("Exclusive Federal Jurisdiction An action under [PREP] shall be filed

  and maintained only in the United States District Court for the District of Columbia" ("D.D.C.")).

  Congress then details a comprehensive scheme for the litigation of a willful misconduct claim.

  §§247d-6d(a)(2) (scope and accrual of claims for loss), (c)(1) (liability standard of willful

  misconduct), (c)(3) (burden of proof), (e) (procedures for willful misconduct claims and appeals

  thereof to the Circuit Court of Appeals for the District of Columbia).

         Congress also provides for an efficient streamlined, publicly-funded no-fault

  administrative process for claimants. §§247d-6e(a) (Covered Countermeasure Process Fund

  ("CCPF") for "purposes of providing timely, uniform, and adequate compensation to eligible

  individuals for covered injuries"), (d)(1) (requires exhaustion of administrative process prior to

  pursuing litigation in D.D.C.), (d)(2) (tolling of statute of limitations), (d)(4) ("exclusivity" of

  federal administrative remedy except for "willful misconduct" litigation in D.D.C.), (d)(5)

  (election to accept administrative compensation or proceed to litigation claim in D.D.C.); see also

  42 C.F.R. §§110.1–110.100 (regulations related to administrative claims process).

  C.     HHS Also Spearheads The Nation's Critical Infrastructure - Healthcare And Public
         Health Sector

         During a time of public health emergency, the country relies on its other powerful, systemic

  tool: the nation's network of critical infrastructure. 42 U.S.C. §5195c. The CIPA defines critical

  infrastructure to include systems whose incapacity "would have a debilitating impact on security,


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  national economic security, national public health or safety, or any combination of those matters."

  §5195c(e). Disruption to our critical infrastructure is to "be rare, brief, geographically limited in

  effect, manageable, and minimally detrimental to the economy, human and government services,

  and national security of the United States." §5195c(c)(1).

         Critical infrastructure includes the Healthcare and Public Health sector which is overseen

  and directed by HHS. See Presidential Policy Directive 21 -- Critical Infrastructure Security and

  Resilience, The White House (Feb. 12, 2013); see also Executive Order 13944, 85 Fed. Reg.

  49,929, 49933 (Aug. 6, 2020) (citing Presidential Directive 21); Executive Order 13800, 85 Fed.

  Reg. 22,391, 22,393 (May 11, 2017) (same).6 The effective activation of the nation's critical

  healthcare infrastructure relies upon the participation of private actors, like BTW: "[p]rivate

  businesses, government, and the national security apparatus increasingly depend on an

  interdependent network of critical physical and information infrastructures." §5195c(b)(2); see

  also §5195c(c)(3) (the continuity of essential federal government functions depends on "public-

  private partnerships involving corporate and non-governmental organizations").

         HHS enlisted BTW as part of the private healthcare infrastructure during the unprecedented

  national emergency. See Declaration, 85 Fed. Reg. at 15,202 (activating state licensed facilities

  that are "authorized in accordance with the public health and medical emergency response of the

  AHJ"); Advisory Opinion 20-04, 1 (invoking the critical role of "healthcare professionals and

  healthcare companies that are part of a government response to the COVID-19 pandemic").




  6
     Cybersecurity & Infrastructure Security Agency, Healthcare and Public Health Sector,
  https://www.cisa.gov/healthcare-and-public-health-sector.


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                     III. ARGUMENT AND CITATIONS OF AUTHORITY

  A.      The PREP Act Requires That Any Litigation Of This Case Must Be In Federal Court

       There are certain matters so central to the federal government's purpose and interests that

  Congress directs the affirmative divestiture of concurrent jurisdiction and assures that claims

  involving those matters will be heard and maintained only in the federal court system. Tafflin v.

  Levitt, 493 U.S. 455, 459 (1990) ("Congress affirmatively ousts the state courts of jurisdiction over

  a particular federal claim"), citing Claflin v. Houseman, 93 U.S. 130, 137 (1876) ("Congress may,

  if it see[s] fit, give to the Federal courts exclusive jurisdiction") Yellow Freight Sys., Inc. v.

  Donnelly, 494 U.S. 820, 823 (1990). Where Congress has demonstrated the intent to so dominate

  an area of the law, it not only completely preempts a state cause of action but it transforms it into

  a federal claim to be litigated in federal court. Franchise Tax Bd. v. Constr. Laborers Vacation Tr.

  for S. Cal., 463 U.S. 1, 23–24 (1983).

          1. The PREP Act Expressly Provides For An "Exclusive" Federal Cause of Action
              Through An "Exclusive" Federal Litigation and Administrative Process

          The PREP Act contains an express "exclusive Federal cause of action":

          [T]he sole exception to the immunity from suit and liability of covered persons …
          shall be for an exclusive Federal cause of action against a covered person for death
          or serious physical injury proximately caused by willful misconduct….

  §247d-6d(d)(1) (emphases added). All other claims are barred by immunity (see §247d-6d(a)(1))

  and totally preempted (see §247d-6d(b)(8)) by the "exclusive" and complete federal administrative

  and litigation process provided by the Act. §§247d-6e(a), (d)(4) (the administrative remedy "shall

  be exclusive of any other civil action or proceeding for any claim or suit this section encompasses,"

  except that litigation remedy provided by §247d-6d(d)(1). Congress did not have to provide that

  broad and complete a remedy under the PREP Act in order to require federal jurisdiction over

  COVID-19 countermeasure litigation, but it did. §§247d-6d, 247d-6e.


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          The most comparable statutory scheme to the PREP Act is the Air Transportation Safety

  and System Stabilization Act, ("ATSSSA"), Pub.L. No. 107-42, 115 Stat. 230 (2001), codified in

  the aftermath of the 9/11 terrorists attacks. Rachal v. Natchitoches Nursing & Rehabilitation

  Center LLC, NO. 1:21-CV-00334, 3–4 n. 3 (W.D. La. Aug. 9, 2021) (comparing PREP and the

  ATSSSA and finding the PREP Act is a complete preemption statute).In finding ATSSSA a

  complete preemption statute, the In re WTC Disaster Site court notes that Congress enacted three

  "principal components": 1) the creation of a Victim Compensation Fund (like PREP Act's CCPF);

  2) the creation of a federal cause of action as the exclusive judicial remedy for damages arising

  from the 9/11 air crashes (like PREP Act's exclusive federal cause of action); and 3) the

  "concentration" of those 9/11 air crash cases in the specific federal court of the Southern District

  of New York (like PREP Act's concentration of COVID-19 countermeasure cases in the D.D.C.).

  In re WTC, 414 F.3d 352, 373 (2005). Those elements are present in this Action. The WTC court

  found these three statutory components combine to completely preempt state law claims under the

  Beneficial National Bank v. Anderson, 539 U.S. 1 (2003) test and require federal removal

  jurisdiction.7

          As WTC observed, it is of particular import that Congress designated a special federal

  litigation forum:

          Congress intended all suits asserting the ATSSSA-created cause of action be
          litigated only in [one] federal court [the Southern District of New York]. To give
          effect to that intent where such an action has been commenced in state court, this
          provision must be interpreted as authorizing the removal of the action to the federal
          court.




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   PREP has more comprehensive preemption and claims provisions. Compare id. at 373–374 with
  §§247d-6d(b)(8), (c)(1, 3), (e)(1–10); §§247d-6e(a), (d)(1, 2, 4, 5), 42 C.F.R. §§110.1–110.100.


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  414 F.3d at 375. In the PREP Act, contrary to Plaintiffs' argument (see Mot. to Dismiss, pp. 4–5,

  n. 1), Congress specially created a three-judge court in the D.D.C. to hear all "willful misconduct"

  PREP cases. 42 U.S.C. §247d-6d(e)(5); see also In re WTC, 414 F.3d at 375–376 (like the PREP

  Act, the ATSSSA was promulgated to streamline the litigation aftermath of a national disaster);

  but see Russel v. Irving Place Associates LP, 20-CV-805, R. & R. at *11 (W.D. La. Aug. 5, 2021)

  (finding the PREP Act does not contain a specific jurisdictional grant to federal court).8 This

  constitutes a "special court" under 28 U.S.C. §2284, which provides that such a three-judge court

  "shall be convened when otherwise required by Act of Congress." §2284(a). Congress intended to

  place all PREP litigation in one, exclusive specially created federal court—the D.D.C.—and not

  in state court systems. Gulf Offshore v. Co. v. Mobil Oil Corp., 453 U.S. 473, 478 (1981)

  (concurrent jurisdiction to hear civil claims is divested "by an explicit statutory directive" or an

  "incompatibility" with federal interests).

         Where such a statutory framework has been created, the PREP Act "must be interpreted as

  authorizing the removal of the action to the federal court." In re WTC, 414 F.3d at 375 ("although

  state law would provide a cause of action in the absence of contrary federal law, … establishing

  an exclusive federal remedy undeniably bespeak[s] an intent to displace state-law remedies

  entirely for such damage claims"); see also Avco Corp. v. Aero Lodge No. 735, Int'l. Ass'n of

  Mech.s and Aerospace Workers, 390 U.S. 557, 560 (1968) (any state law sought to be asserted

  will be "absorbed as federal law and will not be an independent source of private rights"); Rachal,




  8
   But see §247d-6d(e)(1, 5)(express "exclusive Federal jurisdiction"); and Defs.' Mot. to Dismiss,
  14–15 n. 7 (discussing the split in this district courts pending Fifth Circuit Appeal of Mitchell v.
  Advanced HCS, 2021 WL 1247884 (N.D. Tex. Apr. 5, 2021), appealed, No. 21-10477 (5th Cir.).


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  *4 n 3 (finding Congress intended the PREP Act to exclusively encompass claims related to cover

  countermeasure administration or use).9

          2. The PREP Act Completely Preempts State Causes of Action

          The Supreme Court has set a removal doctrine of complete preemption in the two-prong

  Beneficial test: 1) whether Congress has provided an "exclusive federal cause of action"; and 2)

  whether Congress "sets forth procedures and remedies governing that cause of action". Beneficial,

  539 U.S. at 8; Franchise Tax, 463 U.S. at 23–24 (removal jurisdiction exists where preemptive

  force of statute is "so powerful as to displace entirely any state cause of action"—such a suit is

  "purely a creature of federal law"). The PREP Act satisfies both prongs of the Beneficial test.

          First, Congress expressly created an "exclusive federal cause of action". 42. U.S.C. §247d-

  6d(d)(1). Congress goes on to provide covered persons with absolute immunity in all but the

  exclusive federal cause of action for willful misconduct claims. §247d-6d(a)(1) ("covered person

  shall be immune from suit and liability under Federal and State law with respect to all claims"

  caused by, arising out of, relating to or resulting from countermeasures). Congress then amplified

  that nullification of state court claims with broad preemption. §247d-6d(b)(8); see also Bruesewitz

  v. Wyeth, LLC, 562 U.S. 223, 253 (2011) (in finding that the National Childhood Injury Vaccine

  Act ("NCIVA") preempts state law, the dissent notes that the PREP Act is the standard bearer for

  preemptive force, explaining that, by comparison, NCIVA is deficient because it lacks the type of

  "categorical (e.g., 'all') and/or declarative language (e.g., 'shall')" of the PREP Act).

          Where the language of the statute plainly indicates that Congress intended
          preemption, '[w]e must give effect to th[e] plain language unless there is good



  9
    Because exclusive jurisdiction lies in a particular federal court—D.D.C.— this Action can be
  dismissed or transferred via 28 U.S.C. §1631. Defs.' Mot. to Dismiss, 14–15, 17–19); see also
  Franco v. Mabe Trucking Co., Inc., 3 F.4th 788, 795 (5th Cir. 2021) ("[§1631] therefore requires
  a transfer when a district court lacks either type of jurisdiction").


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          reason to believe Congress intended the language to have some more restrictive
          meaning.'

  In re WTC, 414 F.3d at 371 ("The question of whether federal law preempts state law is

  fundamentally a matter of Congress's intent.") "When the federal statute completely pre-empts the

  state-law cause of action, a claim which comes within the scope of that cause of action, even if

  pleaded in terms of state law, is in reality based on federal law". Id. at 372 (quoting Shaw v. Delta

  Air Lines, Inc., 463 U.S. 85, 97 (1983)). Here, as in the aftermath of 9/11, "state law is nullified to

  the extent that it actually conflicts with federal law" thereby meeting the first prong of the

  Beneficial test. In re WTC, 414 F.3d at 372.

          Second, Congress saw fit in the PREP Act to set forth extensive "procedures and remedies"

  governing its exclusive federal cause of action. Beneficial, 539 U.S. at 8 (setting second-prong of

  complete preemption test). District Courts throughout the nation, including this Court, have

  mistakenly found that the PREP Act does not provide a "civil enforcement provision that creates

  a cause of action that both replaces and protects the analogous area of state law." See e.g., Russel,

  R. & R. at *10–11. However, in PREP, Congress expressly provides the scope and accrual of

  claims for loss (see §247d-6d(a)(2)), a liability standard of willful misconduct ((c)(1)), burden of

  proof ((c)(3)), a choice of law provision ((e)(2)), pleading standard of particularity (e)(3)), pleading

  requirements of verification and certain materials ((e)(4)), congressional creation of a "three-judge

  court" in the D.D.C. and direct appeal to Supreme Court from an order granting or denying

  injunction ((e)(5)), motions practice and discovery process ((e)(6)), parameters for recoverable

  damages and collateral source issues ((e)(7)), noneconomic damages allowed ((e)(8)), Rule 11

  sanctions ((e)(9)), and an interlocutory appeal process in the United States Court of Appeals for

  the District of Columbia Circuit ((e)(10)). This comprehensive civil action process is

  extraordinarily precise. "When the federal statute completely pre-empts the state-law cause of



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  action, a claim which comes within the scope of that cause of action, even if pleaded in terms of

  state law, is in reality based on federal law". Beneficial, 539 U.S. at 8; see also Avco, 390 U.S. 557

  (in federal preemption, the state claim "necessarily arises under federal law" and is removable).10

  Indeed, although claimants must first proceed through the CCPF, they may elect to decline their

  CCPF remedies and proceed to a PREP suit. Contrast §247d-6e(d) ("Exhaustion; exclusivity;

  election") with Russel, R. & R. at *11. The extensive process and remedy set out by Congress in

  the PREP Act meet the second prong of the Beneficial test. Id.

         By virtue of the PREP Act's immunity, preemption, exclusive federal cause of action, and

  exclusive federal jurisdiction, this Action arises only under federal law, meets both prongs of the

  Beneficial complete preemption test, and is removable to federal court. 28 U.S.C. §§1331, 1441;

  see also Beneficial, 539 U.S. at 11 ("[e]ven though the complaint makes no mention of federal law,

  it unquestionably and unambiguously claims" that the defendant violated federal law).

         3. Plaintiffs' Petition "Arises Under" The PREP Act Thereby Creating Federal Removal
             Jurisdiction

         Plaintiffs affirmatively alleged that the misuse, use, and failures to properly administer

  PREP Act covered countermeasures resulted in Decedent's COVID-19 death. Petition, ¶¶ 10A, B,

  C, G, J, N; 12A, B, C, G, J, N; see also discussion supra, pp. 2–3. By their own hand, and by force

  of law, Plaintiffs' Petition warrants removal jurisdiction. Beneficial, 539 U.S. at 8.

                 a. The PREP Act Applies To "Non-Use" Of Countermeasures

         The PREP Act's text covers "acts and omissions" and "administration and use". Compare

  §§247d-6d(c), (e) (emphases added); Advisory Opinion 20-04, 6–7 (non-use reasoning is "wrong"

  because "administration" includes "the management and operation" of a countermeasure program


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   Complete preemption is "rare" because of appeal limitations. 28 U.S.C. §1447(d). Contra Pls.'
  Mot. to Remand, 3.


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  which is broader than physical use); Advisory Opinion 21-01, 4 (Jan. 8, 2021) (even "decision-

  making that leads to the non-use of covered countermeasures by certain individuals is the grist of

  program planning, and is expressly covered by PREP Act"); and Garcia v. Welltower OpCo Grp.

  LLC, 2021 WL 492581, at *8 (C.D. Cal. Feb. 10, 2021) (discussing PREP's application to program

  planners and denying remand) with e.g. Jones v. Legacy Management Group of Louisiana, LLC,

  2021 WL 3416993, R.&R., *3 (W.D. La. July 7, 2021). Not, only has HHS told us that the statutory

  term of "administration" is broader than the term "use" (see Advisory Opinion 20-04, 6–7), but the

  plain meaning of the word demonstrates that point. The word "administer" means: "to manage or

  supervise the execution, use or conduct of", "to provide or apply" (e.g. dispense). Administer,

  Merriam-Webster,     https://www.merriam-webster.com/dictionary/administer        (last   accessed

  September 21, 2021); see also §§247d-6d (c)(1)(A), (c)(2)(A), (c)(4), (c)(5)(A), (e)(3)(A).

         In addition, HHS has rejected the reasoning rotely cited by remand orders across the nation,

  because that rationale is based on a narrow view that "clashes" with the text of the PREP Act––

  specifically, that the PREP Act applies to claims "relating to" the "use or administration" of

  covered countermeasures. Advisory Opinion 21-01 (citing §247d-6d(a)(1)). As HHS has

  explained, the PREP Act will apply so long as there is not a "complete absence" of some form of

  decision-making with regard to countermeasures. Id.; see discussion, supra, pp. 2–3 (specific

  references to Petition); see also Advisory Opinion 21-01, 4 ("circumstances where plaintiff pleads

  … failure to make any decisions whatsoever, thereby abandoning [the] duty to act as a program

  planner … is a small hole through which to wiggle"). The use and administration of

  countermeasures and the management and operation of BTW's countermeasure program and

  facility, albeit allegedly inadequate, were affirmatively stated by Plaintiffs' Petition and cannot

  now be recast. Petition, ¶¶ 10A, B, C, G, J, N; 12A, B, C, G, J, N; Notice of Removal, ¶¶ 8, 26,




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  32–33, 39–48; see also c.f. Hook v. Morrison Milling Co., 38 F.3d 776, 780 (5th Cir. 1994) ("we

  look at the complaint as it existed at the time the petition for removal was filed, regardless of any

  subsequent amendments"). Thus, Plaintiffs' "non-use" rationale is due to be rejected.

                 b. HHS's Interpretation Of The PREP Act Is Entitled To The Force Of Law

         Contrary to Plaintiffs' argument at page 5 of their Motion, HHS's Declaration, Amended

  Declarations, and Advisory Opinions should be afforded the controlling force of law that Congress,

  through the PREP Act, requires. §247d-6d(b)(7). As directed by Congress, HHS issued a

  Declaration, nine Amended Declarations and six Advisory Opinions spanning two presidential

  administrations regarding the evolving COVID-19 crisis and its nationally coordinated response.

  These HHS authorities, including the Advisory Opinions, have the force of law. Fourth Amended

  Declaration, 85 Fed. Reg. at 79,191 n. 5 (citing examples of OCG Advisory Opinions that the

  Declaration "must be construed in accordance with"); Statement of Organization, Functions, and

  Delegations of Authority, 85 Fed. Reg. 47,228, 47,230 (July 7, 2020) (Office of General Counsel

  ("OGC") is authorized to promulgate Advisory Opinion directives and issue such legal opinions

  as may be necessary to carry out the responsibilities of HHS). Accordingly, no deference analysis

  is necessary or allowed due to Congress' directive under §247d-6d(b)(7) ("No court of the United

  States, or of any State, shall have subject matter jurisdiction to review, whether by mandamus or

  otherwise, any action by the Secretary under this subsection").

         Should the Court nevertheless wish to undertake a deference analysis, HHS's

  publications—the Declaration, Amendments and Advisory Opinions incorporated therein—are

  entitled to Chevron "controlling" deference. Chevron U.S.A,, Inc. v. Nat. Resource Defense

  Council, 467 U.S. 837, 843–44 (1984); see also 85 Fed. Reg. at 79,195 ("This Declaration is a

  'requirement' under the PREP Act"); Garcia, at *6 (C.D. Cal. Feb. 10, 2021) (applying Chevron




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  deference in denying remand under the PREP Act). To the extent the Advisory Opinions interpret

  HHS's Declaration and Amendments, those Advisory Opinions are entitled to Auer controlling

  deference. See Auer v. Robbins, 519 U.S. 452, 461 (1997) (agency's interpretation of its own

  regulations are controlling unless "plainly erroneous or inconsistent with the regulation"). HHS's

  Response Letter cited herein, is entitled to "considerable weight" or "respect" under Skidmore v.

  Swift & Co., 323 U.S. 134, 137 (1944). See Christensen v. Harris Cty., 529 U.S. 576 (2000).

  B.     The Embedded Federal Question Doctrine Requires This Action Be In Federal Court

         The Grable doctrine captures the "commonsense notion" that a federal court ought to hear

  claims "recognized under state law that nonetheless turn on substantial questions of federal law."

  Grable & Sons Metal Products, Inc. v. Darue Engineering & Mfg., 545 U.S. 308, 312 (2005); see

  also Fourth Amended Declaration, 85 Fed. Reg. at 79,197 (demonstrating the PREP Act policy

  supporting the Grable criteria). If a claim invariably turns on substantial, unsettled, and disputed

  questions of federal law, the case belongs in federal court because it is better for the sake of

  uniformity and federal interests to have a federal court resolve those key questions of federal policy

  and interpretation. Id. at 313–314. Because the application of the PREP Act turns on first

  impression issues of substantial and unresolved questions of federal law, the claims necessarily

  trigger federal subject matter jurisdiction under 28 U.S.C. §1331. Grable, 545 U.S. at 317–318;

  see also Gunn v. Minton, 568 U.S. 251, 258 (2013) (citing Grable at 314). Factors to consider are

  whether the complaint raises: 1) a pure question of law; 2) a question that will control other cases;

  and 3) a question in which the government has a strong interest. Singh v. Duane Morris LLP, 538

  F.3d 334, 339–40 (5th Cir. 2008)

         A substantial federal question exists as to whether the exclusive, special federal court

  afforded under the PREP Act will be provided to program planners as a result of their partnership




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  in the midst of a national crisis. Grable, 545 U.S. at 313. There is a reason why Congress created

  a special three-judge federal court with a unique relationship with administrative agencies and an

  exclusive forum for an "exclusive Federal cause of action": it is because pandemic issues that

  invoke matters of national critical infrastructure, public health, and security raise uniquely federal

  interests and questions. Id. Such complex threats exercise our nation's structure of federalism and

  the role of federal agencies to their fullest extent. This COVID-19 pandemic response, and the

  broad coordination it necessitated, involves highly technical federal administrative matters. See

  e.g. §§247d-6d(b), (i)(9) (referencing "security countermeasures" and the country's National

  Strategic Stockpile). Such matters "justify resort to the experience, solicitude, and hope of

  uniformity that a federal forum offers on federal issues." Grable, 545 U.S. at 312. "[T]here is no

  good reason to shirk from federal jurisdiction over the dispositive and contested federal issue at

  the heart of the state-law claim." Id. at 319–320. The questions of almost daily urgent federal

  directives, national infrastructure and public health threats, an exclusive federal cause of action,

  and a special federal court, create substantial federal questions and require this Action's removal.

  C.      Because BTW Is A Federal Officer, This Action Was Removable Under §1442(a)(1)

          Federal officer removal is permitted in a civil action which is "commenced in a State court

  … against or directed to … any officer (or any person acting under that officer) of the United

  States or of any agency thereof, in an official or individual capacity, for or relating to any act under

  color of such office … ." 28 U.S.C. §1442(a)(1). The statute was designed to give federal officials

  a "federal forum in which to assert federal defenses". Butler v. Coast Electric Power Ass'n, 926

  F.3d 190, 195 (5th Cir. 2019); see also Caver v. Central Alabama Electric Cooperative, 845 F.3d

  1135, 1142 (11th Cir. 2017) (§1442(a)(1) is "an incident of federal supremacy and is designed to

  provide federal officials with a federal forum in which to raise defenses arising from their official



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  duties."). This "statute’s 'basic' purpose is to protect the Federal Government from [state]

  interference with its ‘operations.'" Watson v. Philip Morris Cos., 551 U.S. 142, 150 (2007).

          "Unlike the general removal statute, the federal officer removal statute is to be 'broadly

  construed' in favor of a federal forum." In re Commonwealth’s Mot. to Appoint Counsel Against

  or Directed to Def. Ass’n of Phila., 790 F.3d 457, 466 (3d Cir. 2015); see also Latiolais v.

  Huntington Ingalls, Inc., 951 F.3d 286, 290 (5th Cir. 2020) (urging courts to avoid “a narrow,

  grudging interpretation of § 1442(a)(1)") (internal quotations omitted); Butler at 195 (federal

  officer removal is “not narrow or limited"). The right of federal officer removal is "absolute"

  whenever a suit in state court is for any act "under color of federal office, regardless of whether

  the suit could originally have been brought in a federal court." In re Commonwealth, 790 F.3d at

  466 (quoting Willingham v. Morgan, 395 U.S. 402, 406 (1969)). Federal officer removal is an

  exception to the well-pleaded complaint rule, as "the federal-question element is met if the defense

  depends on federal law." Jefferson Cty. v. Acker, 527 U.S. 423, 431 (1999).

         Because BTW is not itself a federal agency or employee, the four-pronged Latiolais test

  determines the validity of this removal to federal court. First, BTW is a person within the meaning

  of §1442(a)(1). Second, BTW performed the actions for which it is being sued pursuant to federal

  officer direction. Third, BTW raises a colorable defense. And fourth, there is a connection between

  Plaintiffs' allegations and BTW's federally directed acts. Latiolais, 951 F.3d at 291.

         1. BTW Is A "Person" Within §1442(a)(1)

         Unless context indicates otherwise, "person" as used in Congressional acts includes

  corporations. 1 U.S.C. § 1; see also Anderson v. Avondale Indus., Inc., 1994 WL 679827, at *2

  (E.D. La. Dec. 5, 1994). The Fifth Circuit has determined that 28 U.S.C. § 1442(a) applies to

  "private persons and corporate entities". Butler, 926 F.3d at 201; see also Winters v. Diamond




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  Shamrock Chem. Co., 149 F.3d 387, 398 (5th Cir. 1998), modified on other grounds, Latiolais,

  951 F.3d 286. As a limited liability corporation, BTW is a "person" within §1442(a)(1).

          2. BTW Performed Acts Under Direction Of Federal Officer

          As a "program planner" working under HHS and AHJs, specifically as a "COVID only"

  facility, and as a component of the nation's critical healthcare infrastructure, BTW was enlisted to

  fulfill a basic governmental task, which task the government could not provide in a time of national

  public health crisis afflicting particularly elderly residents in congregate living facilities.

  Controlling law provides this criterion is met when the issue at hand at a minimum "involve[s] an

  effort to assist, or to help carry out, the duties or tasks of the federal superior." Butler, 926 F.3d at

  201(where federal government enlisted private cooperatives to assist in providing lower electric

  rates to rural America, private electric cooperative became "instrumentalities of the United States"

  and had federal officer protections under §1442); see also Latiolais, 951 F.3d at 291(shipyard

  contractor "subject to government plans and specifications" entitled to federal officer removal).

          Like the electric cooperative in Butler, the federal government’s response to COVID turned

  BTW into an instrumentality of the United States for a whole-nation response. 926 F.3d 190. And,

  like the system of private electric cooperatives to promote a rural electric grid, Congress and HHS

  here designed a system of national public health AHJs and private program planners directed by

  almost daily instructions from a federal agency, federal officers, or their designees, which

  instructions were consistent with the goals of the CIPA and the PREP Act. Id.; see also Ruppel v.

  CBS Corp., 701 F.3d 1176, 1181 (7th Cir. 2012) ("'Acting under' covers situations … where the

  federal government uses a private corporation to achieve an end it would have otherwise used its

  own agents to complete"); Bennett v. MIS Corp., 607 F.3d 1076, 1088 (6th Cir. 2010) ("acting

  under" test satisfied in absence of a contract if government would have had to perform the task).



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         Here the federal government directed BTW with detailed plans and specifications well

  beyond typical regulations, to-wit: when and how to use and conserve PPE; when, how, and on

  whom to use COVID-19 tests; when to permit COVID-19 stricken staff to return to work; how to

  mitigate staff shortages including when to permit COVID-19 positive but asymptomatic staff to

  return to work; and, how to handle the isolation of residents infected with COVID-19 or under

  investigation for COVID-19.11 These issuances created "strong government intervention" which

  went beyond the "mere auspices of federal direction" due to the unprecedented pandemic. Fung v.

  Abex Corp., 816 F. Supp. 569, 572 (N.D. Cal. 1992); see also Watson, 551 U.S. at 153 ("federal

  regulation alone" is not enough). A specific instruction from a federal officer or a detailed

  regulation to compel specific conduct satisfies the "acting under" requirement. Winters, 149 F.3d.

  387. This coordinated federal response by and through its private partners cannot now be second

  guessed, interfered with, or reviewed by state laws or courts. Watson, 551 U.S. at 150.




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     See, c.f. CMS, "CMS Prepares Nation’s Healthcare Facilities for Coronavirus Threat" (Feb. 6,
  2020), https://www.cms.gov/newsroom/press-releases/cms-prepares-nations-healthcare-facilities-
  coronavirus-threat; CMS Update and Interim Guidance on Outbreak of 2019 Novel Coronavirus
  (Feb. 1, 2020), https://emergency.cdc.gov/han/HAN00427.asp (CDC screening protocol); CMS
  Guidance for Infection Control and Prevention Concerning Coronavirus (COVID-19): CMS
  Guidance for use of Certain Industrial Respirators by Health Care Personnel (Mar. 10, 2020),
  https://www.cms.gov/files/document/qso-20-17-all.pdf (federal government direction in face of
  PPE shortage); HHS, Emergency Use Declaration, Federal Register/ Vol. 85, No. 47 (Mar. 10,
  2020),       https://www.govinfo.gov/content/pkg/FR-2020-03-10/pdf/2020-04823.pdf;             CMS
  Guidance for Infection Control and Prevention of Coronavirus Disease 2019 (COVID-19) in
  Nursing Homes (Mar. 13, 2020), https://www.cms.gov/files/document/qso-20-14-nh-revised.pdf;
  CMS,        COVID-19       Long-Term          Care     Facility     Guidance    (April  2,   2020),
  https://www.cms.gov/files/document/4220-covid-19-long-term-care-facility-guidance.pdf ("As
  long-term care facilities are a critical part of the healthcare system"); CMS, "Trump Administration
  Announces New Nursing Homes COVID-19 Transparency Effort" (Apr. 19, 2020),
  https://www.cms.gov/newsroom/press-releases/trump-administration-announces-new-nursing-
  homes-covid-19-transparency-effort; see also Declaration, 85 Fed. Reg. at 15,202 (activating state
  licensed medical facilities under AHJ direction); Advisory Opinion 20-04, 1 (critical role of
  "healthcare companies that are part of a government response to the COVID-19 pandemic");
  Response Letter.


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         BTW is entitled to the protections and forum that federal surrogacy affords. Butler, 926

  F.3d at 195 (permitting removal by electric cooperative for failure to remit "excess fees" to

  members where the Rural Electrification Administration instructed how administer said fees).

         3. BTW Has Asserted A Colorable Defense

         "The federal officer removal statute is not 'narrow' or 'limited.'" Willingham, 395 U.S. at

  406. A court is not constrained by plaintiffs' allegations. Latiolais, 951 F.3d at 290 ("[S]ection

  1442(a) permits an officer to remove a case even if no federal question is raised in the well-pleaded

  complaint, so long as the officer asserts a federal defense in the response.")

         A colorable federal defense “does not need to be ‘clearly sustainable,’ as § 1442
         does not require a ... person acting under [a federal official] to ‘win his case before
         he can have it removed.’” [Footnote cite omitted] Rather, the defense need only be
         colorable: it must not be “immaterial and made solely for the purpose of obtaining
         jurisdiction” or “wholly insubstantial and frivolous.”

  Butler, 926 F.3d at 195; see also Latiolais at 297 (so long as a defense is "plausible", it "need not

  be 'clearly sustainable.'"). The allegations and statutory authority which govern this case assert a

  colorable defense. Notice of Removal, ¶¶ 17, 20, 23, 25, 43, 51, 53–56, 69; see also, supra pp. 2–

  3, 8–9, 11–16; Defs.' Mot to Dismiss. BTW has asserted defenses of federal immunity and

  preemption, failure to exhaust administrative remedies and improper venue/jurisdiction for failure

  to file this case in the D.D.C. Notice of Removal, ¶¶ 17, 20, 23, 25, 43, 51, 53–56, 69; 42 U.S.C.

  §§247d-6d(a)(1), (b)(1), (e)(1); §§247d-6e(a), (d)(4). These defenses need not be substantiated:

  the court must "avoid premature merits determination." Latiolais, at n. 10.

         4. Plaintiffs' Claims Are Connected To BTW's Acts Under Federal Officer Direction

         The final prong of the Fifth Circuit's federal officer removal test is that the allegation of

  the complaint is "connected to" the defendant's asserted authority. Latiolais, 951 F.3d. at 296. The




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  Fifth Circuit has adopted the more liberal "connection" test to reflect Congress's change in §1442

  to the broader "for or relating to" language. Id. at 291–92.

         Plaintiffs themselves acknowledged that BTW is a state licensed facility following

  (inadequately, they contend) the directives of the CDC and LDH. Petition, ¶ 7. This action raises

  claims against the very COVID-19 program plans and facility operations directed by HHS.

  Declaration 85 Fed. Reg. at 15,200; see also Petition, ¶¶ 7 (attacking BTW's infection control plan

  within its facility). These plans and operations were specifically directed by the federal

  government through HHS and its AHJs. See note 10, supra. Accordingly, Plaintiffs' allegations

  necessarily question such federal direction demonstrating the requisite "connection".

         BTW meets all four-prongs of the Latiolais test for §1441(a)(1) federal officer removal.

                                         IV. CONCLUSION

         As a program planner working under HHS's AHJs, and as part of the nation's critical

  healthcare infrastructure, BTW was marshalled into service by the federal government to

  coordinate with and be directed by HHS in the battle against COVID-19. As result, BTW is entitled

  to the protections Congress provides, specifically a federal forum. Congress spoke plainly in

  enacting both the PREP Act and the Federal Officer Removal statute. Regarding the PREP Act,

  one wonders what Congress was intending to do if it was not intending to create a broad immunity

  and preemptive statutory scheme in an exclusively federal forum to streamline claims and limit

  liability resulting from a national pandemic. Nothing suggests Congress intended to create an

  additive, supplemental remedy to the common law claims of fifty states.

         THEREFORE, Plaintiffs' Motion to Remand is due to be denied.




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                                          Respectfully submitted,

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                                         CERTIFICATE OF SERVICE

            I certify that on September 22, 2021, a copy of the foregoing was filed with the Clerk of

  Court by using the CM/ECF system which will send notice of electronic filing to all counsel of

  record.



                                         /s/ Ronald E. Raney
                                              Of Counsel




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